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                United States Court of Appeals for the Sixth Circuit

                                   Orientation Acknowledgment

                    Clark L. Hildabrand
1. Attorney's Name: _______________________________


2. Date & time of the orientation session you plan to attend:
   Tuesday, August 29, 2023, at 3:00 p.m. (Eastern Time)
   _____________________________________________


3. How many Sixth Circuit orientation sessions have you attended in the past?

  ✔ None                               One                             Two or more


4. How many arguments have you presented before the Sixth Circuit in a video conference
   environment?

  ✔ None                               One                             Two or more


5. What type of equipment will you be utilizing during the orientation and argument?

  ✔ Windows                            Mac (Apple)                     iOS (i-Pad)

       Phone (audio-only)              Android                         Unknown

       Other (please specify): _______________________________________________


                                       615-336-8797
6. Emergency Contact Telephone Number: ______________________
      **The Court should be able to reach you at this number in the event you experience
           any technical difficulties on the day of your orientation and/or argument.**


         If you have not previously registered as an ECF filer, you must do so first.

                                    Docketing Instructions:
                Event Category: Argument; Event: Orientation Acknowledgment


                                         CERTIFICATE OF SERVICE
                   August 28, 2023,
 I certify that on _______________________________ the foregoing document was served on all parties or their
counsel of record through the CM/ECF system if they are registered users or, if they are not, by placing a true and
                correct copy in the United States mail, postage prepaid, to their address of record.
                                    Clark L. Hildabrand
                                 s/ ____________________________________
